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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN      :
  CURRENTLY RESIDING IN NORTH             :
  CAROLINA, BY AND THROUGH NEXT           :                   CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,        :
                                          :
       Plaintiffs,                        :
                                          :
  v.                                      :
                                          :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                 :
                                          :
       Defendants,                     :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                        :
                                       :
       Nominal Defendants.            :

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                     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION
                  FOR THE ENTRY OF PROPOSED PROTECTIVE ORDER

         The most charitable thing that can be said about Richard Mast’s Opposition (ECF No.

  171) to Plaintiffs’ motion for entry of a garden-variety protective order is that it’s a head

  scratcher. He complains that the protective order would hamstring his ability to take discovery,

  but he offers no examples, perhaps because he has not yet propounded any discovery to Plaintiffs
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  or served a single subpoena on any third party. He asserts that Plaintiffs want to avoid public

  scrutiny of their case, but he seems to have overlooked that Plaintiffs’ 46-page, 202-paragraph

  Amended Complaint (with only minimal redactions) has for months been available on the public

  record. He also seems to have forgotten what he filed in two briefs in support of his motion to

  dismiss the Amended Complaint, in which he devoted plenty of ink to his version of the “truth.”

  (ECF 88 and 122). That version, which the other defendants no doubt embrace, was broadcast far

  and wide by CBS News just five weeks ago in back-to-back morning news stories. And on

  February 20, Mast’s version of the truth showed up in an online article published by “American

  Partisan.” See Exh. 1.1

         As if this were not bad enough, Mast scatters throughout his Opposition scurrilous and

  unsubstantiated allegations of what would be serious misconduct by counsel for Plaintiffs and

  the Nominal Defendants, except that the accusations are entirely bogus. For instance, at page 9,

  he says that “Plaintiffs’ [and nominal defendants’] counsel seek to hide the copious amount of

  highly credible information that has already been released by the United States.” Hide from

  whom, one might ask? If the information has already been released without restriction, and if it is

  relevant to the claims and defenses in the case, Mast can undertake to use it at trial. On the next

  page, he accuses Plaintiffs and their counsel of an “abuse of process in order to prematurely

  affect this Court and the public’s view of this case, thereby tainting any jury pool for the

  scheduled October 2023 trial.” This calumny is unworthy of response.

         He then stoops even lower, claiming in his Conclusion (at page 11) that counsel for the

  Nominal Defendants has been “providing extensive manufactured declarations not subject to the


  1
     At the top of the article, in a sentence since removed, Mast asked readers for assistance
  locating potential witnesses.
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      adversarial process.” But he and his coconspirators have these declarations. Nothing in the

      proposed protective order insulates them from cross examination – whether in deposition or trial.

             It is little wonder that none of Mast’s co-defendants joined his Opposition. Plaintiffs’

      motion for a protective order should be granted without further ado.

                                                ARGUMENT

 I.       Plaintiffs Have Good Cause for the Entry of the Proposed Protective Order.

             Under Fed. R. Civ. P. 26(c)(1), entry of a protective order is appropriate upon a finding

      of good cause. Norris v. Excel Indus., Inc.¸ 2015 WL 4431022, at *2 (W.D. Va. July 20, 2015).

      In addition, “umbrella” protective orders, like that proposed here, have “become a common

      feature of complex litigation in the federal courts” and are meant “to expedite production, reduce

      costs, and avoid the burden on the court of document-by-document adjudication.”2 Id. (quoting

      Minter v. Wells Fargo Bank, N.A., 2010 WL 5418910, at *3 (D. Md. Dec. 23, 2010); see also

      Iovino v. Michael Stapleton Assoc., Ltd., 2022 WL 17581491, at *5 (W.D. Va., Dec. 12, 2022)

      (“[E]ntry of a blanket or umbrella protective order, as here, is commonplace in cases involving

      the production of highly sensitive . . . information, or where discovery is expected to be

      voluminous”); Pearson v. Miller, 211 F.3d 57, 73 (3d Cir. 2000) (“[A] district court is


      2
        The Manual for Complex Litigation § 11.432 (4th ed.) explains: “When the volume of
      potentially protected materials is large, an umbrella order will expedite production, reduce costs,
      and avoid the burden on the court of document-by-document adjudication. Umbrella orders
      provide that all assertedly confidential material disclosed . . . is presumptively protected unless
      challenged. Such orders typically are made without a particularized showing to support the claim
      for protection, but such a showing must be made whenever a claim under an order is
      challenged.” In the Fluvanna Circuit Court proceeding, the parties (Plaintiffs John and Jane Doe
      and Defendants Joshua and Stephanie Mast) produced almost 4,000 documents comprising more
      than 15,000 pages. Additional documents are likely to be produced here, given the more limited
      nature of the Fluvanna Circuit Court proceeding (focused entirely on the validity of the adoption
      order), and with the addition of Defendants Richard Mast, Kimberley Motley, Ahmad Osmani
      and the Nominal Defendants as parties here but not in the circuit court.
                                                       3
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  empowered to issue umbrella protective orders protecting classes of documents after a threshold

  showing by the party seeking protection”); In re Southeastern Milk Antitrust Litig., 666 F. Supp.

  2d 908, 913 (E.D. Tenn. 2009) (“The use of protective orders, in fact, has become standard

  practice in complex cases”).3

         Here, Plaintiffs already have established good cause for the entry of a protective order

  protecting Plaintiffs’ identities. See ECF No. 26. Similarly, good cause exists to designate as

  confidential certain documents likely to be produced in discovery given the highly sensitive

  nature of the litigation. For example, discovery produced by the parties and non-parties is likely

  to address medical issues relating to Baby Doe. It also is likely to contain information regarding

  governmental military and non-military operations that the Nominal Defendants deem

  confidential. The other defendants acknowledge as much: Defendants Joshua Mast and Stephanie

  Mast responded to Plaintiffs’ requests for production by (in part) stating that they will produce

  responsive information only “upon entry of a suitable protective order[.]” See, e.g., Defendants

  Joshua and Stephanie Mast’s Responses and Objections to Plaintiffs’ Requests for Production at

  pp. 7, 11, 13, 16 (attached as Exh. 2). Similarly, non-party Samaritan’s Purse objected to

  Plaintiffs’ subpoena (in part) because it “seek[s] confidential and sensitive information in the

  absence of a protective order applicable to a third party production of documents.” See Third

  Party Samaritan’s Purse’s Objections and Responses to Plaintiffs’ Subpoena at 3 (attached as

  Exh. 3).


  3
    Some courts within the Fourth Circuit even have “form” protective orders with provisions
  similar to those found in the proposed protective order. See, e.g., Form Protective Order of the
  S.D. W. Va. (LRCivP26.4Form-AgreedProtectiveOrder.pdf (uscourts.gov)) (providing that
  documents may be designated confidential “[i]f a party . . . has a good faith belief that certain
  documents . . . are confidential and should not be disclosed other than in connection with this
  action . . .” and providing a process for challenging confidentiality designations).
                                                   4
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              In addition, discovery is likely to reference testimony taken, and exhibits used, in the

       Fluvanna Circuit Court proceeding to vacate the Mast’s adoption order4 – all testimony taken in

       that proceeding remains under seal by that court’s order. As this Court is aware, the Fluvanna

       Circuit Court directed the parties to move for an appropriate protective order here to protect such

       information.5 See ECF No. 73, Exh. B.

              Finally, Defendants’ own conduct establishes the need for a protective order that protects

       the confidentiality of certain documents. Certain defendants already have violated the Court’s

       existing Protective Order that was intended to shield Plaintiffs’ identities. See ECF Nos. 141,

       142, 156. And Defendant Richard Mast (the only defendant to oppose the instant motion)

       violated an order of the Fluvanna Circuit Court precluding any party or their counsel from

       speaking with the press. See Exh. 1. Given the proclivity of at least some of the defendants in

       this litigation to flout court orders, certain protections are warranted to prevent additional

       inappropriate behavior.



 II.       Richard Mast Fails to Explain How the Proposed Protective Order Would Prejudice
           Him.

              As the only defendant to challenge entry of the proposed protective order, one would

       expect Mast to present arguments describing the unique difficulties he faces if the order is

       entered. Instead, Mast uses the opposition as another opportunity to make unsubstantiated


       4
        Defendants Joshua Mast, Stephanie Mast, Kimberley Motley and Ahmad Osmani testified in
       court or in deposition in the Fluvanna Circuit Court matter.
       5
         The Circuit Court has since verbally ordered that the seal on that proceeding be lifted, but that
       the parties be identified only by initials. It has not yet, though, entered a written order reflecting
       as much. It further asked the parties to submit proposed redactions to filings before it unseals
       them. The parties are in the process of providing redactions. Thus, virtually all filings and all
       testimony in the Circuit Court proceedings remain under court-ordered seal.
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  accusations against Plaintiffs and their counsel (as well as the Nominal Defendants’ counsel).

  See, e.g., ECF No. 171 at 8 (accusing counsel of attempting to “illegally conceal” information); 9

  & 11 (accusing counsel of attempting to “hide” information and “colluding to suppress”

  information). But, stripped of its histrionics and arm-waving arguments, Mast’s opposition brief

  ignores the substance and effect of the proposed protective order itself.

         Mast’s primary argument is that the proposed protective order will “hinder [his] ability to

  gather evidence.” ECF No. 171 Br. at 6. This is a curious statement – one with which no other

  defendant apparently agrees (as no other defendant joined Mast’s opposition). Mast does not

  explain how the proposed protective order will hinder his evidence-gathering efforts. He does not

  provide a single example, which is hardly surprising given that he has not yet propounded any

  discovery upon Plaintiffs or served a single subpoena. The closest he gets to explaining his

  position is the assertion that he “would be severely prejudiced . . . because [the proposed

  protective order] is intended to provide multiple avenues for Plaintiffs’ counsel and counsel for

  Nominal Defendants to keep information bottled up, even where that information has been

  reviewed and released pursuant to [FOIA], the Privacy Act; the Touhy process, North Carolina

  law, or otherwise released in the course of the parallel Virginia court proceedings.” ECF No. 171

  at 10-11. Ignoring for the moment the suggestion that Plaintiffs’ counsel would designate

  publicly-available information as confidential, it is unclear how doing so would “keep

  information bottled up.” Not only does the proposed protective order provide Mast a process by

  which to challenge any designations he deems inappropriate, but it does not restrict him from

  using information already publicly available. In addition, the proposed protective order allows

  Mast to use appropriately-designated documents in depositions, in court filings, and at trial.

  There is no “bottling up.”

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          Similarly, Mast argues that he needs evidence from “former Afghan government

   employees, former and current DOD personnel . . . , State Department employees, and others

   with knowledge[.]” ECF No. 171 Br. at 7. Mast does not explain how the proposed protective

   order prevents him from obtaining that evidence (whatever it may be).

          Mast’s argument about prejudice culminates in his assertion that Plaintiffs seek “to make

   it virtually impossible to use the significant amounts of now-released Government information

   available, as well as the substantial amount that will be disclosed in discovery effectively to

   prepare for trial.” ECF No. 171 Br. at 10. Again ignoring the suggestion that Plaintiffs would

   improperly designate documents as confidential (Plaintiffs address that assertion below), Mast

   fails to explain how the proposed protective order prevents him from “effectively [] prepar[ing]

   for trial.” He is not precluded from speaking with potential witnesses about non-confidential

   information – of which there is a significant amount.6 The combination of non-confidential

   information available to the parties, press reports about this litigation, and Richard Mast’s own

   public statements made in an effort to locate witnesses, see Exh. 1, reflect that he is not at all

   hampered in his ability to gather evidence. That said, the absence of a protective order has

   already hindered certain discovery propounded by Plaintiffs.

III.   Richard Mast’s Remaining Arguments Against the Proposed Protective Order Should
       Be Rejected.

          Mast’s remaining arguments can be easily dispatched.

          First, he argues that the proposed protective order is not needed because “Rule 26(c)

   exists to effect the same result.” ECF No. 171 Br. at 3. It is unclear what Mast means here, as


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     Indeed, Plaintiffs had no difficulty filing a 202-paragraph Amended Complaint on the public
   record without referencing any confidential information and with only minimal redactions meant
   to protect Plaintiffs’ identities. ECF No. 68.
                                                     7
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  Rule 26(c) governs the entry of protective orders like that Plaintiffs now seek: “A party or any

  person from whom discovery is sought may move for a protective order in the court where the

  action is pending . . . .” Fed. R. Civ. P. 26(c)(1).

          Second, Mast argues that “[s]o-called ‘umbrella orders,’ . . . are rarely appropriate

  because they restrict public access to the judicial process and do not comply with Rule 26.” ECF

  No. 171 at 5. Notably, Mast does not cite a single case from this jurisdiction in support of this

  sweeping assertion. And for good reason, as this Court has explicitly recognized the utility and

  appropriateness of “umbrella orders” like that proposed here. See, e.g., Iovino, 2022 WL

  17581491, at *5; Norris, 2015 WL 4431022, at *2. Indeed, Judge Cullen in Iovino explicitly

  rejected the document-by-document approach that Mast proposes because “doing so would

  unnecessarily encumber the entire discovery process . . . .” Iovino, 2022 WL 17581491, at *5. As

  Judge Cullen recognized, “the Confidentiality Order will (hopefully) expedite the production of

  documents as opposed to mandating a document-by-document review of thousands of

  documents.” Id.; see also Pearson v. Miller, 211 F.3d 57, 73 (3d Cir. 2000) (“[A] district court is

  empowered to issue umbrella protective orders protecting classes of documents after a threshold

  showing by the party seeking protection”).

          Nor do the cases Mast cites support his assertion that protective orders “are rarely

  appropriate” because they (purportedly) restrict public access. ECF No. 171 at 5. For example,

  Judge Posner recognized in Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co. that

  “pretrial discovery, unlike the trial itself, is usually conducted in private.” 178 F. 3d 943, 945 (7th

  Cir. 1999). Similarly, contrary to Mast’s assertion, see ECF No. 171 at 5, the Supreme Court in

  Seattle Times Co. v. Rhinehart did not hold that “a protective order is a ‘paradigmatic prior

  restraint’”; in fact, the Court expressly rejected that proposition, criticizing the appellate-court

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  opinion that held as much. 467 U.S. 20, 26 & n. 6 (1984) (quoting In re Halkin, 598 F. 2d 176,

  183-84 (D.C. Cir. 1979)). In so holding, the Court recognized that “where[] a protective order is

  entered on a showing of good cause[,] is limited to the context of pretrial civil discovery, and

  does not restrict the dissemination of the information if gained from other sources, it does not

  offend the First Amendment.” Id.; see also id. at 33 (“an order prohibiting dissemination of

  discovered information before trial is not the kind of classic prior restraint that requires exacting

  First Amendment scrutiny”).

         Third, Mast complains that the proposed protective order allows a party to designate

  documents as confidential if the party “reasonably believes that the material contains . . .

  confidential information.” ECF No. 171 Br. at 3. He then accuses Plaintiffs of “desir[ing] a blank

  check to designate anything as ‘CONFIDENTIAL,’ and permit that information to be withheld

  from public scrutiny.” ECF No. 171 Br. at 4. Not only does Mast not offer a factual basis for his

  distrust of Plaintiffs’ counsel – neither Mast nor any other defendant has served a single

  discovery request on Plaintiffs, so Plaintiffs have not yet had the opportunity to designate any

  document as confidential – but he ignores that the proposed protective order explicitly prohibits

  parties from designating material as confidential “without a reasonable and good faith belief that

  such designation is appropriate,” ECF No. 166-1 at § V(1), and allows a party to challenge

  designations they deem inappropriate. Id. at § VI. See, e.g., Minter, 2010 WL 5418910, at *1

  (umbrella protective order allows parties “to temporarily enjoy the protection of Rule 26(c) by

  rending all discovery documents designated in good faith confidential until challenged” by the

  opposing party). Mast does not explain why those provisions do not adequately address his

  purported concerns.



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          Fourth, Mast argues that “[t]he proposed order would require that prospective witnesses

   be required to sign the ‘Acknowledgment and Agreement to be Bound’ document before [an]

   investigation occurred . . . .” ECF No. 171 Br. at 7, n. 3. Not so. Nothing is preventing Mast from

   proceeding with his investigation. Given that the other defendants do not oppose entry of the

   proposed protective order, it can be assumed that they do not feel similarly constrained in their

   own investigations. Moreover, Mast misstates the provisions of the proposed protective order. It

   requires only expert witnesses and vendors to sign the Acknowledgment before they are granted

   access to confidential information. ECF No. 166-1 at § VII(2)(c) and (e). As to fact witnesses, if

   a party to the litigation “learns that, by inadvertence or otherwise, it has disclosed Protected

   Material to any person or in any circumstance not authorized under this Protective Order,” the

   party must (among other things) “request” that the person execute the Acknowledgement. ECF

   No. 166-1 at § X. Otherwise, fact witnesses are not permitted access to information designated as

   confidential, other than “[d]uring their depositions” if “disclosure is reasonably necessary.” ECF

   No. 166-1 at § VII(2)(f).

          Fifth, apparently in an effort to avoid entry of the proposed protective order, Mast rails

   against the existing Protective Order, ECF No. 26, alleging that “Plaintiffs and their attorneys

   have obtained the previous protective orders in an abuse of process in order to prematurely affect

   this Court and the public’s view of this case, thereby tainting any jury pool for the scheduled

   October 2023 trial.” ECF No. 171 Br. at 10. Not only are Mast’s accusations of “abuse of

   process,” “tainting” of the jury pool, and general accusations of misconduct unbecoming of an

   officer of the Court, but his accusations ring hollow given that until March 3 he had not filed a

   motion to lift, modify or clarify the existing Protective Order.



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          Finally, Mast argues against Section IX of the proposed protective order, which provides

   for a 15-day period in which information produced by a non-party is designated “confidential” to

   allow the parties to the litigation an opportunity to review and designate the information

   confidential, if appropriate. The Nominal Defendants requested this provision for the purpose of

   protecting information that the U.S. government has deemed confidential. Plaintiffs understand

   that the Nominal Defendants will be filing a brief providing a rationale for that provision.

                                            CONCLUSION

          Accordingly, Plaintiffs respectfully ask the Court to enter the proposed protective order.

   March 6, 2023                                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on the 6th day of March 2023, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

   all CM/ECF participants.


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